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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                                   *
WHITNEY DAVIS, et al.,
                                                   *
      Plaintiffs,
                                                   *
      v.                                                          Civil No.: SAG-17-494
                                                   *
UHH WEE, WE CARE INC., et al.,
                                                   *
      Defendants
                                                   *

*     *       *       *      *      *       *      *       *      *      *     *      *   *

                                           ORDER

      For the reasons stated in the accompanying Memorandum Opinion, it is hereby

ORDERED that:

      1. Plaintiffs’ Motion for Attorneys’ Fees and Costs Associated with Plaintiffs’

           Emergency Motion for a Protective Order and to Compel Deposition Testimony (ECF

           No. 104) is GRANTED in part and DENIED in part;

      2. The Motion is DENIED as to an award of the full amount of requested attorneys’

           fees;

      3. The Motion is GRANTED as to an award of attorneys’ fees in the amount of $900.00;

      4. The Motion is GRANTED as to an award of costs in the amount of $1,177.88; and

      5. Judgment is hereby entered in favor of plaintiffs and against defendant Edwina

           Murray for attorneys’ fees and costs in the amount of $2077.88.


Date: May 27, 2020                          _____________/s/_________________
                                            Beth P. Gesner
                                            Chief United States Magistrate Judge
